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                        UNITED STATES DISTRICT COURT
                           DISTRICT OF MINNESOTA

IN RE BANC OF CALIFORNIA
SECURITIES LITIGATION
                                                Case No. _____________

                                                CASE NO. SACV 17-00118 AG (DFMx)
                                                consolidated with
                                                SACV 17-00138 AG (DFMx)
                                                Pending in the Central District of California


           MOTION TO COMPEL COMPLIANCE WITH SUBPOENAS

       Defendant Steven Sugarman (“Sugarman”) respectfully moves the Court for an

Order, pursuant to Federal Rule of Civil Procedure 37 and Local Rule 37.1, compelling

non-parties Castalian Partners Value Fund LP and James Gibson (“Respondents”) to

produce documents responsive to the Subpoenas to Produce Documents served on

Respondents by Sugarman in In Re Banc of California Sec. Litig., Civil Action No.

SACV 17-00118 AG (DFMx) consolidated with SACV 17-00138 AG (DFMx), currently

pending in the United States District for the Central District of California.

       As set forth in further detail in Sugarman’s memorandum of law in support of this

Motion – to be filed upon the scheduling of a hearing date – the grounds for this Motion

are that Sugarman issued valid Subpoenas requesting production of relevant documents

and Respondents refuse to produce any documents responsive to the Subpoenas.

       This Motion will be based upon all the files, records, and proceedings herein,

including memoranda of law to be filed in support of the Motion, supporting affidavits

and exhibits, arguments of counsel, and the pleadings and proceedings in this matter.
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          The undersigned certifies that Sugarman has in good faith conferred with

Respondents through telephonic conferences on August 28 and September 10, 2018 and

written correspondence exchanged on August 7, 15, 28, 30, 31 and September 1, 2, 4 and

7, 2018 in an effort to obtain the discovery that is the subject of this Motion without court

action.

Dated: September 12, 2018               Respectfully submitted,

                                        FOX ROTHSCHILD

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